
USCA1 Opinion

	










          June 20, 1995
                                [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT




                                 ____________________


        No. 94-2269

                                LEROY GEORGE BENNETT,

                                     Petitioner,

                                          v.

                       IMMIGRATION AND NATURALIZATION SERVICE,

                                     Respondent.


                                 ____________________

                         ON PETITION FOR REVIEW OF AN ORDER 

                         OF THE BOARD OF IMMIGRATION APPEALS

                                 ____________________

                                        Before

                                Cyr, Boudin and Lynch,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            John S. Pomeroy on brief for petitioner.
            _______________
            Frank W.  Hunger,  Assistant  Attorney  General,  Civil  Division,
            ________________
        Emily  Anne  Radford   &amp;  Charles  E.  Pazar,  Attorneys,   Office  of
        ____________________________________________
        Immigration Litigation Civil Division, on brief for respondent.


                                 ____________________

                                 ____________________





















                 Per  Curiam.    Petitioner  Leroy  Bennett  appeals  the
                 ___________

            decision  of the  Board  of Immigration  Appeals denying  him

            discretionary relief  from deportation.  8  U.S.C.   1182(c).

            We  have  reviewed   the  administrative  record   carefully,

            including  the decision  of  the immigration  judge, and  the

            briefs of the parties.   We find no evidence  that petitioner

            received anything other  than a full and impartial hearing in

            this  case.  Moreover,  the record supports  the finding that

            petitioner   exhibited  a   "pattern   of  serious   criminal

            misconduct"  over a period of  several years, as  well as the

            finding  that petitioner failed to meet his burden of showing

            that he had been rehabilitated.  

                 The immigration  judge made specific findings  as to the

            positive and negative  factors to be considered  in this case

            and explained  how he reached  his decision.   Petitioner has

            not shown  that that  decision was  "made without a  rational

            explanation, inexplicably departed from established policies,

            or rested on an  impermissible basis."  Williams v.  INS, 773
                                                    ________     ___

            F.2d  8, 9 (1st Cir.  1985) (explaining grounds  on which INS

            decision may be overturned).   We find no abuse of discretion

            in the  Board's ultimate  decision that  discretionary relief

            was not  warranted.  See  Gouveia v.  INS, 980 F.2d  814, 819
                                 ___  _______     ___

            (1st Cir. 1992)  (refusing to "second-guess the  Board on the

            manner in which it weights different factors when arriving at

            its ultimate decision").



















                 Affirmed.
                 ________



















































                                         -3-









